08-01789-cgm     Doc 5720     Filed 02/27/14 Entered 02/27/14 12:10:06           Main Document
                                          Pg 1 of 2



 DAY PITNEY LLP
 Margarita Y. Ginzburg, Esq. (MG-6240)
 One Jefferson Road
 Parsippany, NJ 07054-2891
 Telephone: (973)966-6300
 Facsimile: (973) 966-1015
 -and-
 7 Times Square
 New York, NY 10036
 mginzburg@daypitney.com
 Attorneys for Defendants Edmond A. Gorek and Marguerite M. Gorek

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re
                                                  Adv. Pro. No. 08-01789 (SMB)
 SECURITIES INVESTOR PROTECTION
 CORPORATION,                                     SIPA LIQUIDATION
                 Plaintiff-Applicant,
 v.                                               (Substantively Consolidated)

 BERNARD L. MADOFF INVESTMENT
 SECURITIES LLC,
                 Defendant.


 In re:

 BERNARD L. MADOFF,

                        Debtor

 IRVING H. PICARD, Trustee for the
 Liquidation of Bernard L. Madoff Investment
 Securities, LLC,
                        Plaintiff,
 v.                                               Adv. Pro. No. 10-4797 (SMB))

 EDMOND A. GOREK, as an individual and as
 a joint tenant, and MARGUERITE M.
 GOREK, as an individual and as a joint tenant,

                        Defendants.




 72216352.1
08-01789-cgm     Doc 5720      Filed 02/27/14 Entered 02/27/14 12:10:06      Main Document
                                           Pg 2 of 2




                                   NOTICE OF APPEARANCE


               PLEASE ENTER THE APPEARANCE of the undersigned counsel on behalf of

 defendants EDMOND A. GOREK and MARGUERITE M. GOREK, in the above Adversary

 Proceeding and matters therein.



 Dated: February 27, 2014
         Parsippany, NJ

                                       By:     /s/ Margarita Y. Ginzburg
                                               Margarita Y. Ginzburg (MG-6240)
                                               Day Pitney LLP
                                               One Jefferson Road
                                               Parsippany, NJ 07054
                                               Telephone: (973) 966-8265
                                               Facsimile: (973) 995-4588
                                               Email: mginzburg@daypitney.com




                                             -2-

 72216352.1
